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FREEMAN, NOOTER & GINSBERG

 

 

 

 

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GHARLENE RAMOS
OFFICE MANAGER

October 19, 2020

Hon. P. Kevin Castel
U.S. District Judge
U.S. Courthouse

500 Pearl Street

New York, NY 10007

Re: U.S. v. Terry Former
19 CR 781 (PKC)

Dear Judge Castel:

e write to request modification of conditions of release to permit Mr. Former to travel
from his home in Texas to the Birmingham, Alabama area to visit his parents and his wife’s
parents from October 23, 2020 to October 25, 20204He and his wife will be traveling by car and
will be staying at the home of his parents at 3290 Glenn Drive, Millbrook, Alabama 36054.

We have spoken to AUSA Tara LaMorte to seek her consent. She has no objection on
condition that (1) pre-trial agrees; (2) he reports immediately prior to and after the trip; and (3) he
provides pretrial with itinerary. Pretrial Officer Keyana Pompey does not object to this request.

Respectfully submitted,

oy /S/ Louis M. Freeman
Application Granted. Louis M. Freeman

So Ordered: oe" LZZLU

“Hon. P. Kevin Castel, U.S.DJ,

/O-19 “22

 

 
